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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 24-23616-CIV-ALTONAGA/Reid

 ANTHONY SHNAYDERMAN, et al.,

        Plaintiffs,
 v.

 OZONE NETWORKS, INC.,

       Defendant.
 _________________________________/

                                             ORDER

        THIS CAUSE came before the Court sua sponte. Federal Rule of Civil Procedure 4(m)

 requires service of summons and complaint to be perfected upon defendants within 90 days after

 the filing of the complaint. Plaintiffs filed this action on September 19, 2024. Therefore, on or

 before December 18, 2024, Plaintiffs shall perfect service upon the Defendant or show cause

 why this action should not be dismissed for failure to perfect service of process. Failure to file

 proof of service or show good cause by December 18 will result in a dismissal without prejudice

 and without further notice.

        DONE AND ORDERED in Miami, Florida, this 3rd day of October, 2024.



                                                ________________________________________
                                                CECILIA M. ALTONAGA
                                                CHIEF UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
